                                                                                        DISTRICT OF OREGON
                                                                                             FILED
                                                                                           August 23, 2016
                                                                                     Clerk, U.S. Bankruptcy Court
   IT IS ORDERED AND NOTICE IS GIVEN that unless within 23 days of the date in the FILED stamp
   above an interested party BOTH: (1) files a written objection to the Motion below, SETTING FORTH
   the specific grounds for such objection, with the Clerk of Court (i.e., if the 5-digit portion of the Case
   No. begins with 3 or 4, at 1001 SW 5th Ave. #700, Portland OR 97204; OR, if it begins with a 6 or 7, at
   405 E 8th Ave #2600, Eugene OR 97401), AND (2) serves a copy on the movant and any attorney for
   the movant at the service address(es) below, the movant will thereafter settle and compromise the
   matter upon the terms below and the settlement will be deemed approved without further order.




                                                                       _______________________________________
                                                                                   RANDALL L. DUNN
                                                                                 U.S. Bankruptcy Judge


                                   UNITED STATES BANKRUPTCY COURT

                                            DISTRICT OF OREGON



In re                                           )
                                                )             09-30204-rld7
                                                    Case No.________________
Russel Douglas Robbins                          )              AMENDED
                                                )   MOTION AND NOTICE OF INTENT
                                                )   TO SETTLE AND COMPROMISE,
                                                )   AND ORDER THEREON
Debtor(s)                                       )



                                           Rodolfo A. Camacho
         The undersigned trustee, _____________________________, moves to settle and compromise the
following described dispute upon the following terms:
The Trustee previously filed a Motion and Notice of Intent to Settle and Compromise and Order Thereon [Doc.
103] (the “Settlement Notice”) with respect to a $850,000 settlement (the “Settlement Amount”). The Settlement
Notice indicated that $340,000.00 of the Settlement Amount would be paid to special counsel as attorney fees
together with $13,789.59 in costs as specified in an application for professional compensation [POC 18-1]. While
the underlying settlement agreement specified that the party paying the Settlement Amount would pay
$141,225.98 to the bankruptcy estate and $708,774.02 to special counsel, the Settlement Notice provided that the
entire $850,000 would be paid to the estate after which the trustee would propose an interim distribution.
However, special counsel (Janci) received $708,774.02 and, without Trustee knowledge or consent, disbursed it
as follows: $340,000.00 for its attorney fees, $13,789.59 for costs, $11,929.43 in additional claimed costs [now
included in amended POC 18-2], $1,500.00 withheld as future costs, and $341,555.00 to the debtor. Trustee made
numerous calls to (Janci), none were ever returned. Instead, Mr. Janci hired Ward Green. Mr Green called trustee
to "work things out." The trustee believes that the $141,225.98 actually received by the estate may be enough to
pay all administrative claims in full, along with 100% of all creditors (including interest).




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NOTICE OF INTENT TO COMPENSATE SPECIAL COUSEL: Pursuant to the terms of the Trustee's Application
to Employ Attorney on a Contingency Fee Basis; and Order and Notice Thereon (Doc. #100) and the proposed
settlement agreement, Trustee proposed that 40% of the settlement payment plus costs of $13,789.59, would
be immediately paid to employed counsel, Peter B. Janci, Crew Janci LLP, to the extent no objections were
received within the time set forth in the initial Notice, and the Court enters an order approving the fee
application, which was filed as Proof of Claim #18-1. As previously stated, Special counsel (without Trustee
consent), retained $708,774.02 from the settlement and disbursed it as follows: $340,000.00 for its attorney
fees, $13,789.59 for its initial expenses, $11,929.43 in additional claimed expenses (expenses amended in POC
18-2), $1,500.00 withheld as future costs, and $341,555.00 disbursed to the Debtor.



                                                     ###


DATE: ___________
         8/23/16                                  /s/ Rodolfo A. Camacho
                                                  ______________________________________________
                                                                      Trustee

                                                PO Box 13897
                               Service Address: ______________________________________________

                                                  Salem, Oregon 97309
                                                  ______________________________________________

                  Name of Attorney for Trustee: ______________________________________________

                               Service Address: ______________________________________________

                                                  ______________________________________________




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